                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                                 Case No. 5;17-cv-00307-D



Oberlin Capital Acquisitions LLC, et al.
Plaintiff(s),

vs



C-lll Asset Management LLC, et al.
Defendant(s).

  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
                     DIRECT FINANCIAL INTEREST IN LITIGATION


Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,

C. Neal Coker, Jr.              vvho is Pla'"tiff
(name of party)                            (plaintiff/defendant/other:            )

makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

        YES O                              NO 0
2. Does party have any parent corporations?

        YES O                              NO 0

If yes, identify all parent corporation, including grandparent and great-grandparent corporations:

3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

        YES O                              NO 0


 If yes, identify all such owners:




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

       YES O                            NO 0
If yes, identify entity and nature of interest:


5. Is party a trade association?

        YES O                           NO 0
If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more ofa member's stock:


6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors's committee:




                                                  Signature: /s/ MichaelJ. Tadych

                                                  Date:     June 23, 2017




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